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                           Exhibit 8
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From: Cormier, Kara <KMCormier@mintz.com>
Sent: Friday, August 25, 2023 5:35 PM
To: Kirsch, Kevin W. <kkirsch@bakerlaw.com>
Cc: Skale, Andrew <ADSkale@mintz.com>
Subject: RE: Unauthorized and Unlicensed Use of CygNet Software

The following is sent on behalf of Andrew Skale:

Kevin,

We do not understand your rejection of the 3‐day trial period. We took the language we cited directly from CygNet’s
instructions. Moreover, nothing was done unlawfully or for any improper intent. And our client has not now, nor has
ever, run any production licenses for Cygnet. Further, we understand this trial license was only used twice by our
client. Regardless, in the spirit of compromise and without making any admissions, our client will no longer run any
install via the 3‐day trial license period.

As to your specific allegations toward Mr. Ligrani, he was never an employee of Utah Gas Corporation, so your
allegations are misplaced. But regardless, Utah Gas had nothing to do with the formation of Iron IQ. Thus, we cannot
see any wrong doing having occurred.

Given our client is agreeing to cease using the trial license, we sincerely hope that this now resolves the matter. If I am
incorrect, I suggest we have a phone call to clear up any misunderstanding.

Regards,
Andrew


Kara Cormier
Associate

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